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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 GREG QUINLAN et. al.
 Plaintiffs

 V.

 U.S. DEPARTMENT OF HEALTH AND                        1:20-cv-02261-TNM
 HUMAN SERVICES et. al.
 (Defendant)



          NOTICE OF TEMPORARY WITHDRAW PURSUANT TO FRCP 41(a)


       The Plaintiffs withdraw or non-suit the above titled case pursuant to FRCP 41(a). The

Plaintiffs intended to be present at the case management conference scheduled for today.

However, Plaintiff Sevier is at the Bevely Hills VA combating some non-life threatening yet skin

disease contracted last month while on a mission trip to Mexico. Plaintiff Penkoski is bogged

down in legal controversies in Wisconsin following incidents outside of RNC convention with

LGBTQ leftist extremists. Plaintiff Quinlan was available to appear today, however, all of the

Plaintiffs are focused on a current lawsuit they filed in The United States District Court for the

Middle District Of Florida to remove the LGBTQ side walk display in an action brought under

42 USC sec 1983 for violating the Establishment Clause and alternatively for view point

discrimination. The issues in that case are somewhat similar to the one’s here - requiring that the

government disentangle itself with the religion of Leftist Secular Humanism as the Establishment

Clause requires. The Plaintiffs have limited resources and time and can only focus on one case at

a time. They believe that they should prioritize the pending Florida action. The Plaintiffs ask

that this case be dismissed without prejudice. The Plaintiffs have been in communication with

Trump administration about this action through his former wife Marla Trump. Based on those
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communications, the Plaintiffs believe that The Defendants’ position towards the Plaintiffs

action here will be different if President Trump is elected in three months from now. To save

judicial under the totality of the circumstances the Plaintiffs submit this request in what they

believe is in the best interest of all parties. The Plaintiffs do not think the government should be

required to put forth a herculean effort at this time to combat the Plaintiffs claims, when a new

administration is likely to side with the Plaintiffs. Just as Eric Holder refused to defend DOMA,

Trump’s DOJ will more likely than not defend against the Plaintiffs claims here. The case should

be temporarily paused or withdrawn until after the election in November.


       /s/ Christopher Sevier Esq./
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                                 CERTIFICATE OF SERVICE

A​​true​​​copy​​​of​​​the​​​foregoing​​​was mailed to the following address onAugust 1, 2024 Roger
Severino, 200 Independence Avenue SW Washington, D.C. 20201, Betsy Devos, 400 Maryland
Avenue, SW. Washington, DC 20202, Michael R. Pompeo, U.S. Department of State 2201 C
Street NW Washington, DC 20520, Seema Verma, 7500 Security Boulevard, Baltimore, MD
21244, Roger Severino, 200 Independence Avenue, SW Room 509F, HHH Building Washington,
D.C. 2020, William Barr U.S. Department of Justice 950 Pennsylvania Avenue, NW Washington,
DC 20530-0001 .


/s/Chris Sevier Esq./
